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                EXHIBIT B
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        Iron Sky 2012 and Director’s cut edition.
                       Director Timo Vuorensola
                 Production company Blind Spot Pictures




                         Original Authors
                             Main authorship

                     Johanna Sinisalo script treatment

           Trevor Kevin Baylis 3D models,VFX and animations
               (No contractual copyright transfer to Producer)

                    Kelly Myers VFX and animations
               (No contractual copyright transfer to Producer)

              Risto Puukko 3D models,VFX and animations
               (Non exclusive copyright transfer to producers)

           Additional 3D animation works (main artists)

                                 Lee Stringer
                               Luke Whitehorn
                                 Pyry Parkola
                               Janne Suhonnen
                              Erkko Huhtamäki
              (All Non exclusive copyright transfer to producers)
                                 Seb Barquin
                (No contractual copyright transfer to Producer)

                     Director of Cinematography
                               Mika Orasmaa

                              Musical score
                               Laibach (band)

          For additional information contact trevor.baylis@gmail.com
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3D Models VFX and Animation Authorship

USS George W Bush Spacecraft.
Main authors
Trevor Kevin Baylis
Erkko Huhtamäki
PyryParkola
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3D Models VFX and Animation Authorship

USS George W Bush Spacecraft Weapons.
Main authors
Trevor Kevin Baylis
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3D Models VFX and Animation Authorship

USS George W Bush Spacecraft Weapons.
Main authors
Trevor Kevin Baylis

Extract from storyboard.
Note the absence of any instruction to 3D Arists
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3D Models VFX and Animation Authorship

USS George W Bush Spacecraft Battle Scenes.
Main authors
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Risto Puukko
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3D Models VFX and Animation Authorship

Gotterdammerung war machine.
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Pyry Parkola
Seb Barquin
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3D Models VFX and Animation Authorship

Valkyrie UFO.
Main authors
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3D Models VFX and Animation Authorship

Rhiengold UFO.
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3D Models VFX and Animation Authorship

Hangar Scene.
Main author
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3D Models VFX and Animation Authorship

Space Zeppelins Scenes.
Main authors
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Risto Puukko
Pyry Parkola
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3D Models VFX and Animation Authorship

MoonBase and Gotterdammerung Interior Scenes.
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Seb Barquin
Risto Puukko
Pyry Parkola
Erkko Huhtamäki
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3D Models VFX and Animation Authorship

Eath Fleet Ships and Scenes.
Main authors
Trevor Kevin Baylis
Seb Barquin
Risto Puukko
Pyry Parkola
Luke Whitehorn
Kelly Myers
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3D Models VFX and Animation Authorship

File names and Metadata examples.
Tampere District Court Baylis v Troll VFX 21.10.2016 L 15/32468
Judge Oskar Kulmala

““Baylis has shown, for example, regarding Maya files K21, K27 and
K28, which are evidence, that numerous files and meta-files have his
name, i.e. he was the author of the animations.”




Opening Original Iron Sky Maya files in Text Editor reveals who the original author of the file was.
see video: https://www.youtube.com/watch?v=wy1jdRcYqW8
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Additional information




Note setion 6, [Translated]
“6. The person participating in the internship/work life coaching is not in an employment or other service relationship with the
organizer of the internship/work life coaching mentioned in this contract, nor with the labor and business administration.”
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Additional information
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Additional information




Gmail - Iron Sky Gotterdammerung model                                https://mail.google.com/mail/u/0/?ui=2&ik=32656685cd&jsver=...




                                                                              Trevor Baylis <trevor.baylis@gmail.com>



         Iron Sky Gotterdammerung model
         Trevor Baylis <trevor.baylis@gmail.com>                                                 1 October 2012 at 22:35
         To: samuli <samuli@wearetroll.com>

           Hi Samuli,

           I received this email, (see below)

           Obviously this has nothing to do with me and I don't know who these
           people are but maybe you should be aware of it?

           Needless to say, I have no intention of sending them anything.

           Trev


           ---------- Forwarded message ----------
           From: Jacek Maj <jacek.maj@realitypump.pl>
           Date: 1 October 2012 13:12
           Subject: Iron Sky Gotterdammerung model
           To: trevor.baylis@gmail.com


           Hi,

           i'm Jacek Maj, an environmental artist from Reality Pump Studio
           Poland. We have purchased the Iron Sky IP and are currently working on
           IS game. You can check it out here:

           http://www.ironskyinvasion.com/en/news.html
           http://www.realitypump.com/en/iron-sky-invasion.html
           or on our facebook page https://www.facebook.com/IronSkyInvasion?fref=ts

           We have already recieved all of the models that have been used in the
           movie but the model of Gotterdammerung, that You have been working on.
           My task is to create the ship's hull. Do You still have the maya
           files? If so, would You be so helpful and maybe send them to us? We
           are on a very short development cycle so any help that we can get
           would be MUCH appreciated.

           All best,

           Jacek Maj.

           PS. We absolutely LOVE Your work on Gotterdammerung model in the IS movie:)


           --
           Trevor Baylis

           www.trevy.co.uk




1 of 2                                                                                                             6/30/17, 5:10 PM
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Additional information
